       Case 18-35028-VFP       Doc 53   Filed 06/05/19 Entered 06/05/19 15:52:42      Desc Main
                                        Document     Page 1 of 2




ROB SALTZMAN, ESQUIRE
PLUESE, BECKER & SALTZMAN, LLC
Attorneys at Law
RS1765                                                            Order Filed on June 5, 2019
                                                                  by Clerk
20000 Horizon Way, Suite 900
                                                                  U.S. Bankruptcy Court
Mount Laurel, NJ 08054
                                                                  District of New Jersey
(856) 813-1700


                                                                    18-35028-VFP
                                                                    June 4, 2019
 Gregory G. Leo, Sr.
                                                                   Vincent F. Papalia
                                                                   Stacey L. Meisel
                                                                           7




                                                   x




                                                           .




         DATED: June 5, 2019
Case 18-35028-VFP     Doc 53    Filed 06/05/19 Entered 06/05/19 15:52:42       Desc Main
                                Document     Page 2 of 2


                        Federal National Mortgage Association ("Fannie Mae")




       x


       118 Main Street, Sparta, NJ 07871




                                           2
